Filed 8/26/24 P. v. Murcia CA4/3
                      NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 THE PEOPLE,

       Plaintiff and Respondent,                                    G063290

           v.                                                       (Super. Ct. No. FWV19002495)

 ANA LIDIA GUZMAN MURCIA,                                           ORDER MODIFYING OPINION
                                                                    AND DENYING PETITION FOR
       Defendant and Appellant.                                     REHEARING; NO CHANGE IN
                                                                    JUDGMENT


                   It is hereby ordered that the opinion filed on August 6, 2024, be
modified as follows:
                   On page 6, first line, at the end of the first incomplete sentence
the following footnote should be added:
                   Even if, as urged by defendant, the prejudice standard
articulated in Chapman v. California (1967) 386 U.S. 18, 23-24, were to
apply, we would find the error harmless on the record before us. Among other
things, the trial court: relied on six additional unchallenged aggravating
circumstances; rejected defendant’s request to run the sentences on all counts
concurrent with one another, instead opting to run concurrent only four of the
seven indeterminate terms; and commented about the vicious and cruel
nature of the crimes that defendant aided and abetted, defendant’s control
over the situation, and the planning involved in the abuse.
            There is no change in the judgment.
            The petition for rehearing is DENIED.




                                          DELANEY, J.

WE CONCUR:



MOORE, ACTING P. J.



GOETHALS, J.




                                      2
Filed 8/6/24 P. v. Murcia CA4/3 (unmodified opinion)




                 NOT TO BE PUBLISHED IN OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.


         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                  FOURTH APPELLATE DISTRICT

                                               DIVISION THREE


 THE PEOPLE,

       Plaintiff and Respondent,                                        G063290

           v.                                                           (Super. Ct. No. FWV19002495)

 ANA LIDIA GUZMAN MURCIA,                                               OPINION

       Defendant and Appellant.



                   Appeal from a judgment of the Superior Court of San Bernardino
County, Katrina West, Judge. Affirmed.
                   Aaron J. Schechter, under appointment by the Court of Appeal,
for Defendant and Appellant.
                   Rob Bonta, Attorney General, Lance E. Winters, Chief Assistant
Attorney General, Charles C. Ragland, Assistant Attorney General, Melissa
Mandel and Anne Spitzberg, Deputy Attorneys General, for Plaintiff and
Respondent.
            Defendant appeals after a jury convicted her of multiple sex
offenses involving two minor victims and the trial court sentenced her to a
total prison term of 60 years to life plus 8 years. She contends a true finding
made by the court on one alleged aggravating circumstance is not supported
by the record, requiring remand for a full resentencing, and that her trial
counsel provided ineffective assistance by failing to urge the court to impose
the low term on one count due to a variety of trauma she suffered in her life.
In addition, relying on People v. Dueñas (2019) 30 Cal.App.5th 1157 (Dueñas),
she claims the court violated her constitutional due process rights by
imposing fines and fees without first determining whether she had the ability
to pay them.
            We find no reversible error. Although the trial court’s finding on
the challenged aggravating circumstance lacks evidentiary support, a remand
for resentencing is not required because the trial court also found true six
additional aggravating circumstances. Regarding trial counsel’s
performance, even if we were to find counsel’s performance was deficient,
defendant fails to demonstrate the requisite prejudice for establishing
ineffective assistance of counsel. And as for the fines and fees, assuming
arguendo Dueñas was correctly decided and its due process framework is
applicable in this case, we find no constitutional violation. The extreme
factual circumstances that led Dueñas to reach its conclusion are not present
here. Accordingly, we affirm the judgment.
                                    FACTS
            Details of the crimes for which a jury found defendant guilty are
not relevant to the issues raised in this appeal. It suffices to say, defendant
and her then husband regularly sexually abused two minors over the course
of at least two years.

                                        2
            The jury convicted defendant of seven counts of sexual
penetration and oral copulation with a child 10 years old or younger (Pen.
Code, § 288.7, subd. (b); counts one through seven)1, which each carried an
indeterminate prison term, and one count of procuring a child to engage in a
lewd act (§ 266j; count 10), which carried a determinate sentencing triad from
which the court could select in accordance with section 1170, subdivision (b).
            Defendant requested a court trial on seven aggravating factors
alleged by the People. They included: (1) “the crime[s] involved great
violence, great bodily harm, threat of great bodily harm, or other acts
disclosing a high degree of cruelty, viciousness, or callousness”; (2) “[t]he
victim was particularly vulnerable”; (3) “defendant induced others to
participate in the commission of the crime[s] or occupied a position of
leadership or dominance of other participants in [their] commission”;
(4) “defendant induced a minor to commit or assist in the commission of the
crime[s]”; (5) “[t]he manner in which the crime[s] [were] carried out indicates
planning, sophistication, or professionalism”; (6) “defendant took advantage
of a position of trust or confidence to commit the offense[s]”; and (7)
“defendant has engaged in violent conduct that indicates a serious danger to
society.” The court found true all the aggravating factors.
            At sentencing, the trial court imposed 15 years to life on each of
the seven indeterminate term counts. However, recognizing defendant had
been subject to a variety of trauma and abuse in her life, the court chose to
run only four of those life terms consecutive to one another, with the
remaining three running concurrent to the others. As for the one


1           All further statutory references are to the Penal Code unless
otherwise stated.

                                        3
determinate term count, it imposed the upper term of eight years, to run
consecutive to the indeterminate terms.
            Defendant timely appealed.
                                DISCUSSION
            Defendant raises three sentencing related contentions on appeal.
First, she asserts there is no evidence to support an aggravating factor that
the trial court found true. Second, she argues her trial counsel rendered
ineffective assistance by failing to raise trauma as a ground for imposing the
lower term sentence on count 10 pursuant to section 1170, subdivision (b)(6).
Third, she claims the court unwarrantedly imposed fines and fees without
considering whether she is able to pay them. We find no error.
I.     Aggravating Factors
            One of the aggravating factors found true by the trial court prior
to making its determinate sentencing pronouncement on count 10 was that
defendant “induced a minor to commit or assist in the commission of the
crime.” (Cal. Rules of Court, rule 4.421(a)(5).) It reasoned, defendant
“taught Mary Doe how to commit [a sex act].”
            Consistent with an argument made by defendant’s trial counsel,
defendant contends there is no evidence to support the trial court’s true
finding. We agree. Whether stemming from a misunderstanding of the
aggravating factor language or an improper application of it, the trial court’s
finding on this singular aggravating factor was error. Mary Doe was a
victim. A minor sexual crime victim does not assist the commission of the
crime by following the perpetrator’s directions to perform an act which makes
them as a victim in the first instance. (See People v. Tobias (2001) 25 Cal.4th
327, 334 [minor is victim, not accomplice, when penal statute outlaws
conduct against minor].)

                                       4
            Where we depart from agreement with defendant’s analysis is the
impact the error has on her sentence. Defendant argues remand for a full
resentencing is required because the invalid aggravating factor is “a ‘part of
the sentence.’” But, a court’s findings concerning aggravating and
mitigating factors are not part of a sentence. Rather, they are matters to be
considered by a court in selecting which determinate term sentence to
impose. (See § 1170, subd. (b)(2) [court “may impose a sentence exceeding the
middle term” based on certain “circumstances in aggravation of the crime”];
People v. Black (2007) 41 Cal.4th 799, 817 [“An aggravating circumstance is a
fact that makes the offense ‘distinctively worse than the ordinary’”].)
            Although a court may impose an upper term only if it concludes
aggravating factors justify exceeding the middle term (§ 1170, subd. (b)(2)), a
single factor in aggravation may justify imposition of an upper term (People
v. Williams (1996) 46 Cal.App.4th 1767, 1782; People v. Piceno (1987) 195
Cal.App.3d 1353, 1360).
            Here, consistent with recent statutory amendments, the
aggravating circumstances were tried to “the judge in a court trial.”2 (§ 1170,
subd. (b)(2).) The court found true six aggravating circumstances other than
the one defendant now challenges. Because the validity of those other
aggravating circumstances is not attacked, and because on the record before
us it is not “reasonably probable that the trial court would have chosen a
lesser sentence” had it correctly understood the inducement of a minor
aggravating factor (People v. Price (1991) 1 Cal.4th 324, 492), defendant has

2           This case does not involve retroactive application of statutory
amendments made by Senate Bill No. 567 (2021-2022 Reg. Sess.), and, thus,
we need not address the standard for demonstrating prejudicial error in those
circumstances. (Compare People v. Dunn (2022) 81 Cal.App.5th 394, 408-409,
with People v. Lopez (2022) 78 Cal.App.5th 459, 465-468.)

                                       5
 not demonstrated reversible error. (See ibid. [remand not required when
 trial court provided three unchallenged reasons for selecting upper term];
 People v. Avalos (1984) 37 Cal.3d 216, 233 [remand not required despite
 improper reliance on aggravating factors because not reasonably probable
 sentencing result would be more favorable to defendant absent error].)
II.      Ineffective Assistance of Counsel
              In a sentencing brief, among the mitigating factors defendant’s
 trial counsel urged the court to consider was evidence that defendant had
 experienced a variety of trauma in her life, including sexual abuse, which
 counsel argued was a factor in the commission of the crimes. Based on this
 and other mitigating factors, defendant’s counsel asked the court to run all of
 the indeterminate term sentences and the determinate term sentence
 concurrently. Defendant contends her trial counsel provided ineffective
 assistance by not urging the court, pursuant to section 1170(b)(6)(A), to
 impose the low term on count 10 due the same trauma. We are not
 persuaded.
              A criminal defendant has a constitutional right to the effective
 assistance of counsel during criminal proceedings. (People v. Ledesma (1987)
 43 Cal.3d 171, 215.) “Establishing a claim of ineffective assistance of counsel
 requires the defendant to demonstrate (1) counsel’s performance was
 deficient in that it fell below an objective standard of reasonableness under
 prevailing professional norms, and (2) counsel’s deficient representation
 prejudiced the defendant, i.e., there is a ‘reasonable probability’ that, but for
 counsel’s failings, defendant would have obtained a more favorable result.”
 (People v. Dennis (1998) 17 Cal.4th 468, 540 (Dennis).)
              “Our review is deferential; we make every effort to avoid the
 distorting effects of hindsight and to evaluate counsel’s conduct from

                                         6
counsel’s perspective at the time. [Citation.] A court must indulge a strong
presumption that counsel’s acts were within the wide range of reasonable
professional assistance. [Citation.] Thus, a defendant must overcome the
presumption that the challenged action might be considered sound trial
strategy under the circumstances.” (Dennis, supra, 17 Cal.4th at p. 541.)
“[I]f the record is void of an explanation by counsel for their actions, we
examine the record to determine if an independent satisfactory explanation
exists to show counsel’s actions were a reasonable tactical decision.” (People
v. Montoya (2007) 149 Cal.App.4th 1139, 1150.)
            The record in this appeal is silent as to why defendant’s trial
counsel did not specifically ask the court to use the identified trauma to
impose the low term on count 10.3 Even if, arguendo, there was no tactical or
strategic reason for why counsel did not ask the trial court to impose the low
term on count 10 based on trauma, defendant has failed to meet her burden
of demonstrating ineffective assistance of counsel because she fails to show
prejudice. Prejudice in this context is established by showing “there is a
reasonable probability that, but for counsel’s unprofessional errors, the result
of the proceeding would have been different. A reasonable probability is a




3            In a declaration filed in conjunction with a separately pending
petition for writ of habeas corpus concerning the same underlying case, the
existence of which we take judicial notice on our own motion (Evid. Code, §§
452, subd. (d), 459), defendant’s trial counsel avers they had no tactical or
strategic reason for failing to raise trauma in the context of count 10. The
petition was filed while this appeal was pending, and this court previously
ordered the two matters be considered contemporaneously. We resolve the
habeas corpus petition, which raises the same ineffective assistance of
counsel issue as this appeal, by separate order. (In re Guzman Murcia
([August 6, 2024], G063290) [nonpub. order] )

                                        7
  probability sufficient to undermine confidence in the outcome.” (Strickland v.
  Washington (1984) 466 U.S. 668, 694.)
              Although the trial court believed the trauma suffered by
  defendant was a reason to depart from the prosecution’s requested sentence
  of 105-years-to-life, plus eight years determinate, there is nothing in the
  record which reveals a reasonable probability that the court would have
  further reduced the total sentence had defendant’s trial counsel raised
  trauma in the context of count 10. Even when presented with evidence of
  trauma, a court may decline to impose the lower term in a sentencing triad if
  it finds “the aggravating circumstances outweigh the mitigating
  circumstances that imposition of the lower term would be contrary to the
  interests of justice.” (§ 1170, subd. (b)(6).) Here, the trial court found true six
  aggravating circumstances which are not challenged on appeal, and it used
  those to justify imposition of the upper term on count 10. Additionally, the
  court accounted for defendant’s trauma by running three of the seven
  indeterminate counts concurrent to one another, while simultaneously
  rejecting defendant’s counsel’s urging to run more of the indeterminate
  counts concurrently. The entirety of the circumstances considered, defendant
  has not demonstrated prejudice.
III.      Fines and Fees
              The trial court imposed a total of $4,560 in fines and fees, with
  $2,000 of that amount being a suspended parole revocation fine. Defendant
  claims the imposition of any fines and fees was unconstitutional because the




                                          8
court did not first determine whether she had the ability to pay. We
disagree.4
             Defendant’s constitutional argument relies on Dueñas. The facts
and circumstances of Dueñas were aptly explained by another appellate court
in People v. Kopp (2019) 38 Cal.App.5th 47, review granted Nov. 13, 2019,
S257844: “In Dueñas, the defendant was an indigent, homeless mother of
two, who subsisted on public aid while suffering from cerebral palsy.
[Citation.] As a teenager, the defendant’s license was suspended when she
could not pay some citations. [Citation.] She then was convicted of a series
of misdemeanor offenses for driving with a suspended license, and in each
case, she was given the Hobson’s choice to pay mandatory fees and fines,
which she lacked the means to do, or go to jail. [Citation.] She served jail
time in the first three of these cases, but still faced outstanding debt, which
increased with each conviction.” (Kopp, at p. 94.)
             “After her fourth conviction of driving with a suspended license,
the defendant was placed on probation and again ordered to pay mandatory
fees and fines. [Citation.] To try to stop the cycle of ever enhancing fees and
fines, the defendant brought a due process challenge to Penal Code section
1465.8, Government Code section 70373, and Penal Code section 1202.4, the
statutes under which the fees and fines were imposed. [Citation.] She
argued that ‘[t]hese statutes . . . are fundamentally unfair because they use


4           The Attorney General argues defendant forfeited a challenge to
the imposition of fines and fees on an ability to pay basis by failing to raise
the argument in the trial court. Defendant did not raise the issue in the trial
court, but we nevertheless exercise our discretion to consider the matter
notwithstanding any possible forfeiture. (See People v. Williams (1998) 17
Cal.4th 148, 161, fn. 6 [appellate court generally has discretion to consider
unpreserved claims].)

                                        9
the criminal law, which is centrally concerned with identifying and punishing
only blameworthy decisions, to punish the blameless failure to pay by a
person who cannot pay because of her poverty. The laws, moreover, are
irrational: They raise no money because people who cannot pay do not pay.’
[Citation.]” (Kopp, supra, 38 Cal.App.5th at p. 95, review granted.)
            The Second Appellate District, pronounced that “[i]mposing
unpayable fines on indigent defendants” amounted to punishing them for
their indigence. (Dueñas, supra, 30 Cal.App.5th at p. 1167.) Doing so in the
Dueñas defendant’s case, the court concluded, violated her due process rights.
It explained, “Because the only reason [she] cannot pay the fine and fees is
her poverty, using the criminal process to collect a fine she cannot pay is
unconstitutional.” (Id. at p. 1160.)
             Since Dueñas, appellate courts have been flooded with appeals
contesting fines and fees. Many have rejected application of due process
principles in this context, with some finding the proper analysis is instead
the excessive fines clause in the Eighth Amendment of the United States
Constitution and a similar protection provided in the California Constitution.
(See, e.g., People v. Cota (2020) 45 Cal.App.5th 786, 794-795; People v. Hicks
(2019) 40 Cal.App.5th 320, 327-329, review granted Nov. 26, 2019, S258946;
People v. Aviles (2019) 39 Cal.App.5th 1055, 1067-1069; Kopp, supra, 38
Cal.App.5th at pp. 96-97, review granted; People v. Gutierrez (2019) 35
Cal.App.5th 1027, 1038-1039 (conc. opn. of Benke, J.).) Others have refused
to extend its reach beyond the precise circumstances presented in Dueñas.
(See, e.g., People v. Oliver (2020) 54 Cal.App.5th 1084, 1103; People v. Allen
(2019) 41 Cal.App.5th 312, 326-327; People v. Caceres (2019) 39 Cal.App.5th
917, 926-927; Kopp, at p. 94; People v. Johnson (2019) 35 Cal.App.5th 134,
138-139.)

                                       10
            We need not decide whether the Dueñas due process framework
is ever the appropriate analytical framework and, if so, in precisely which
types of cases.5 Even assuming arguendo it applied here, the imposition of
fines and fees in this case did not rise to the level of a due process violation as
it did in Dueñas. There are no facts even vaguely comparable to the situation
of the Dueñas defendant. Among other things, defendant was not indigent
when the crimes took place or when she was arrested, and the crimes for
which she was convicted have nothing to do with her financial circumstances.
            Further, even assuming arguendo a constitutional violation, it is
harmless. Defendant was sentenced to a total of 68 years to life in prison.
Nothing in the record suggests she might be unable to work or be ineligible
for prison work assignments. Prison wages can be used to make payments
toward the imposed fines and fees. (See People v. Hennessey (1995) 37
Cal.App.4th 1830, 1837 [ability to pay includes a defendant’s prison wages].)
Thus, if any error occurred, it was harmless beyond a reasonable doubt.
(People v. Johnson (2019) 35 Cal.App.5th 134, 139-140 [any potential Dueñas
error was harmless because no evidence defendant could not earn prison
wages during eight-year prison sentence].)




5            The issue may soon be clarified by the Supreme Court. Pending
before it, based on a grant of review in Kopp, are the following questions:
“Must a court consider a defendant’s ability to pay before imposing or
executing fines, fees, and assessments? If so, which party bears the burden of
proof regarding defendant’s inability to pay?” (People v. Kopp, S257844,
Supreme Ct. Mins., Nov. 13, 2019.)

                                        11
                           DISPOSITION
         The judgment is affirmed.




                                      DELANEY, J.

WE CONCUR:



MOORE, ACTING P. J.



GOETHALS, J.




                                 12
